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 4   Attorney for Defendant Jimmy G.Y. Lee

 5                                                   )
                                                     )      CR No. 05-00395 CRB
 6   UNITED STATES OF AMERICA                        )
                                                     )
 7                  Plaintiffs,                      )
                                                     )   REQUEST, STIPULATION AND
 8          vs.                                      )   ORDER
                                                     )
 9   JIMMY GONG YANG LEE,                            )
                                                     )
10                  Defendant.                       )
                                                     )
11

12          This matter is currently on the Court’s calendar for August 30, 2006. Through counsel,

13   defendant Jimmy Gong Yang Lee and the United States ask the Court to (a) vacate the August 30,

14   2006 date based on the defendant’s anticipated plea agreement, (b) set a date of October 4, 2006 for

15   change-of plea, and exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from July 26, 2006

16   to August 23, 2006.

17          1. The parties have been diligently working out the language of a plea agreement and request

18   that the court set the matter for October 4, 2006 for change-of-plea. It was anticipated that a plea

19   agreement would be signed and a plea of guilty entered on August 30, 2006, however, counsel for

20   defendant is unavailable on that date due to an emergency medical appointment which cannot be re-

21   scheduled and the next date that both counsel are available is October 4, 2006.

22          2. The parties agree that the time between August 30, 2006 and October 4, 2006 should be

23   excluded from the Speedy Trial Act clock. Previously, this Court has declared this case complex,.

24   See 18 U.S.C. § 3161(h)(8)(B)(ii). Because of the need for defense counsel to receive urgent medical

25   care the parties agree that the continuance is necessary for the continuity of counsel and effective

26   preparation of defense counsel taking into consideration of due diligence. See 18 U.S.C.

27   §3161(h)(8)(B)(iv). The parties also agree that the ends of justice served by excluding the period from

28   August 30, 2006 to October 4, 2006 outweigh the interest of the public and the defendant to a Speedy


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 1   Trial. See id.

 2   3161(h)(8)(A).

 3

 4   STIPULATED:

 5

 6   DATE: August 24, 2006                                 /S/ PETER B. AXELROD
                                                           PETER B. AXELROD
 7                                                         LAUREL BEELER
                                                           Assistant U.S. Attorneys
 8

 9
     DATE: August 24, 2006                                 /S/ ALAN DRESSLER
10                                                         Alan Dressler
                                                           Attorney for Defendant
11                                                         Jimmy Gong Yan Lee

12

13                                                 ORDER

14           For good cause shown, and for the reasons stated above, the Court (a) vacates the August 30,

15   2006, hearing date for defendant Jimmy Gong Yang Lee based on the anticipated plea agreement,
                                                                  2:15 p.m.
16   (b)sets the matter for change-of-plea on October 4, 2006 at 10:00 a.m., and (c) excludes time under

17   the Speedy Trial Act, 18 U.S.C. § 3161, from August 30, 2006 to October 4, 2006. The Court finds

18   that the failure to grant the requested exclusion would deny the defendant continuity of counsel and

19   defense counsel reasonable time necessary for effective preparation taking into account the exercise

20   of due diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18

21   U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court finds the ends of justice served by granting the requested

22   exclusion outweigh the best interest of the public and the defendant in a speedy trial and in prompt

23   disposition of criminal cases. The Court therefore concludes that this exclusion of time should be

24   made under 18 U.S.C. §3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
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25           IT IS SO ORDERED.                                               TA
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                                                                                           ORDER
                                                                   UNIT




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27   DATED: August 28, 2006                                                 IT IS S
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                                                   CHARLES R. BREYER
28                                                 United States District Judge harles R. Breyer
                                                                   NO




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